IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

A.S.R., On his own behalf and on behalf
of others similarly-situated,

Petitioner,
Civil No. 3:25-cv-00113

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V. )
) Judge Stephanie L. Haines
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DONALD J. TRUMP, /n his official
capacity as President of the United States,
etal,

Respondents.

OPINION

Petitioner A.S.R. (“A.S.R.”), a Venezuelan man who is currently in immigration custody
and represents that he is subject to President Donald J. Trump’s (“President Trump”) Proclamation
invoking “the Alien Enemies Act Regarding the Invasion of the United States by Tren de Aragua”
(the “Proclamation”), 90 Fed. Reg. 13034, pursuant to the Alien Enemies Act of 1798, (the
“AEA”), 50 U.S.C. § 21, seeks a preliminary injunction from this Court as against Respondents.
Specifically, he requests that this Court: (1) find that the Proclamation does not comply with the
AEA, (2) deem insufficient the due process that the Executive Branch is currently providing to
those detained pursuant to the Proclamation, and (3) afford him certain additional relief.

This case poses significant issues that are deeply interwoven with the constitutional
principles upon which this Nation’s government is founded. In approaching these issues, the Court
begins by stressing the questions that it is nor resolving at this time.

First, this Court is not resolving the question of whether the President of the United States

may direct the removal of certain individuals when he acts pursuant to provisions of law other than

the AEA, namely the Immigration and Nationality Act (the “INA”).
Second, this Court is not resolving the question of whether the President of the United
States may remove under the AEA individuals who have simply migrated to this country, as
opposed to individuals who have entered this country and are members of a Foreign Terrorist
Organization. The Court is likewise not resolving the question of whether the President may
remove under that statute individuals who are members of a gang, as opposed to individuals who
have entered this country and are members of a Foreign Terrorist Organization.

And third, this Court is not resolving the question of whether individuals who are subject
to removal under the AEA are entitled to sufficient “notice ... as will allow them to actually seek
habeas relief in the proper venue before such removal occurs.” Trump v. J.G.G., 145 S. Ct. 1003,
1006 (2025). The Supreme Court has already found that they are entitled to such notice, and this
Court has every intention of requiring reasonable notice, as it explains in more detail below.

Instead, the question that this Court is answering is this—so long as the Government
provides sufficient notice and due process, may the President issue a Proclamation pursuant to the
AEA directing the removal of: (1) Venezuelan citizens, (2) who are fourteen (14) years of age or
older, (3) who are within the United States, (4) who are neither actually naturalized nor lawful
permanent residents, and (5) who are members of Tren de Aragua (“TdA”), which is a Foreign
Terrorist Organization (“FTO”)? After extensive consideration, and for the following reasons, the
Court answers that question in the affirmative.

Therefore, because the Court finds that the President may issue a Proclamation pursuant to
the AEA directing the removal of alien members of an FTO (where such members are fourteen
(14) years of age or older and neither actually naturalized nor lawful permanent residents) under
the AEA, the Court DENIES IN PART Petitioners’ Motion for a Preliminary Injunction. (ECF No.

56). However, the Court also finds that the notice that the Executive Branch is currently extending
to individuals subject to removal under the AEA is deficient under our Constitution. Accordingly,
the Court GRANTS IN PART Petitioners’ Motion for a Preliminary Injunction, (ECF No. 56), and
the Court will require the detailed notice that the Court outlines below.
I Background

A. The AEA and the President’s Proclamation

This case begins with the AEA, which provides that:

Whenever there is a declared war between the United States and any foreign nation
or government, or any invasion or predatory incursion is perpetrated, attempted, or
threatened against the territory of the United States by any foreign nation or
government, and the President makes public proclamation of the event, all natives,
citizens, denizens, or subjects of the hostile nation or government, being of the age
of fourteen years and upward, who shall be within the United States and not actually
naturalized, shall be liable to be apprehended, restrained, secured, and removed as
alien enemies. The President is authorized in any such event, by his proclamation
thereof, or other public act, to direct the conduct to be observed on the part of the
United States, toward the aliens who become so liable; the manner and degree of
the restraint to which they shall be subject and in what cases, and upon what security
their residence shall be permitted, and to provide for the removal of those who, not
being permitted to reside within the United States, refuse or neglect to depart
therefrom; and to establish any other regulations which are found necessary in the
premises and for the public safety.

50 U.S.C. § 21.

On March 14, 2025, President Trump signed his Proclamation invoking the AEA. In relevant

part, that Proclamation provides as follows:

On February 20, 2025, the Secretary of State of the United States designated TdA
as an FTO pursuant to 8 U.S.C. § 1189. TdA has thousands of members.

TdA is closely aligned with, and has infiltrated, the Maduro regime, including its
military and law enforcement apparatus. TdA grew significantly while Tereck El
Aissami served as governor of Aragua between 2012 and 2017. In 2017, El Aissami
was appointed as vice president of Venezuela. Soon thereafter, the United States
Department of the Treasury designated El Aissami as a Specially Designated
Narcotics Trafficker under the Foreign Narcotics Kingpin Designation Act, 21
U.S.C. § 1901 et seq. El Aissami is currently a United States fugitive facing charges
arising from his violations of United States sanctions triggered by his Department
of the Treasury Designation.
Nicolas Maduro (“Maduro”) claims to act as Venezuela’s President and asserts
control over the security forces and other authorities in Venezuela. He further leads
the regime-sponsored enterprise Cartel de los Soles, which coordinates with and
relies on TdA and other organizations to carry out its objective of using illegal
narcotics as a weapon to “flood” the United States. In 2020, Maduro and other
regime members were charged with narcoterrorism and other crimes in connection
with this plot against America.

Over the years, Venezuelan national and local authorities have ceded ever-greater
control over their territories to transnational criminal organizations, including TdA.
The result is a hybrid criminal state that is perpetrating an invasion of and predatory
incursion into the United States, and which poses a substantial danger to the United
States.

TdA operates in conjunction with Cartel de los Soles ... and commits brutal crimes,
including murders, kidnappings, extortions, and human, drug, and weapons
trafficking. TdA has engaged in and continues to engage in mass illegal migration
to the United States to further its objectives of harming United States citizens,
undermining public safety, and supporting the Maduro regime’s goal of
destabilizing democratic nations in the Americas, including the United States.
Many members of TdA have unlawfully infiltrated the United States and are
conducting irregular warfare and undertaking hostile actions against this country.

In December 2024, INTERPOL Washington found that TdA has emerged as a
significant threat to the United States as it infiltrates migration flows from
Venezuela.

90 Fed. Reg. 13034.

As a result of the foregoing, President Trump found that TdA is “perpetrating, attempting,
and threatening an invasion or predatory incursion against the territory of the United States.” Td.
Further, he concluded that TdA is taking such actions “against the territory of the United States
both directly and at the direction, clandestine or otherwise, of the Maduro regime in Venezuela.”
Id. As aresult, President Trump directed that “all Venezuelan citizens 14 years of age or older who
are members of TdA, are within the United States, and are not actually naturalized or lawful
permanent residents of the United States are liable to be apprehended, restrained, secured, and

removed as Alien Enemies.” /d.
Because the Proclamation references the fact that the Secretary of State deemed TdA an
FTO pursuant to Title 8, United States Code, Section 1189, the Court briefly overviews certain
portions of that statute.

B. The Provisions of Title 8, United States Code, Section 1189

Pursuant to Section 1189, the United States Secretary of State:

is authorized to designate an organization as a foreign terrorist organization ... if
the Secretary finds that—

(A) the organization is a foreign organization;

(B) the organization engages in terrorist activity ... or terrorism ... or retains
the capability and intent to engage in terrorist activity and terrorism[]; and

(C) the terrorist activity or terrorism of the organization threatens the
security of United States nationals or the national security of the United
States.

8 U.S.C. § 1189 (a)(1).

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As the Supreme Court has explained, under the statute, “‘‘national security’ means the
national defense, foreign relations, or economic interests of the United States.’” Holder v.
Humanitarian L. Project, 561 U.S. 1, 9 (2010) (quoting 8 U.S.C. § 1189(d)(2)). Further, an entity
designated as an FTO may seek review of “that designation before the D.C. Circuit within 30 days
of that designation.” Jd. (citing 8 U.S.C. § 1189(c)(1)). The D.C. Circuit shall then hold unlawful
and set aside a designation if that Court finds it to be: (1) “arbitrary, capricious, an abuse of
discretion, or otherwise not in accordance with law;” (2) “contrary to constitutional right, power,
privilege, or authority;” (3) “in excess of statutory jurisdiction, authority, limitation, or short of

statutory right;” (4) “lacking substantial support in the administrative record taken as a whole or

in classified information submitted to the court[;]” or (5) not in accord with the procedures required
by law.” 8 U.S.C. § 1189(c)(3). Finally, “Congress, by an Act of Congress, may block or revoke
such a designation[.]” Jd. § 1189(a)(5).

On February 20, 2025, Secretary of State Marco Rubio found that TdA, as well as seven
other organizations, are subject to designation as FTOs pursuant to Title 8, United States Code,
Section 1189. Foreign Terrorist Organization Designations of Tren de Aragua, Mara Salvatrucha,
Cartel de Sinaloa, Cartel de Jalisco Nueva Generacion, Carteles Unidos, Cartel del Noreste, Cartel
del Golfo, and La Nueva Familia Michoacana, 90 Fed. Reg. 10030-03. As of the date of this
Memorandum Opinion, Congress has not blocked or revoked this designation, and the D.C. Circuit
has not rendered a decision finding it unlawful.

C. Record Evidence in Support of the Proclamation

Respondents in this matter set forth the following two Declarations in support of President
Trump’s findings in the Proclamation.

The first is the Declaration submitted by Selwyn Smith, who is a “Deputy Assistant
Director ((DAD’) for Homeland Security Investigations HSI’) at U.S. Immigrations Customs
Enforcement (‘ICE’) within the U.S. Department of Homeland Security (DHS’)” (“DAD Smith”).
(ECF No. 26-1 at 2). In DAD Smith’s Declaration, he provides significant background, based on
his personal knowledge and experience, regarding TdA’s origination, growth, and spread
throughout the United States. (See ECF No. 26-1). He explains that TdA “members are involved
in illicit activity to invoke fear and supremacy in neighborhoods and with the general
population[,]” as was evidenced by their takeover of Denver apartment buildings and their alleged
commission of “human trafficking, to include trafficking of women from Venezuela; bank fraud;
federal narcotics violations; extortion of human smuggling victims; and homicide[.]” Ud. at 3-4).

Further, TdA members are now “present and committing criminal activity in at least 40 states in
the continental United States and Canada.” (/d. at 4). Finally, DAD Smith explained that, in
January 2024, the New York Police Department (“NYPD”) recorded a surge in robberies that the
NYPD believes to likely be orchestrated by TdA recruits. (/d. at 7). Accused leaders of these TdA
groups “have admitted to a complex network connected to Florida and Texas with profits shipped
back to South America. Associated crews of this TdA network are allegedly involved in extortion
and ransom schemes connected to human smuggling and human trafficking networks.” (/d.).
Indeed, according to DAD Smith, members of “TdA pose an extraordinary threat to the American
public.” (Ud. at 3).

The second is a Declaration by Michael G. Kozak, the “Senior Bureau Official within the
Bureau of Western Hemisphere Affairs (‘WHA’) of the United States Department of State” (“Mr.
Kozak”). (ECF No. 26-3 at 2). Mr. Kozak made the statements in his Declaration based on his
extensive experience engaging in diplomatic work in Venezuela and elsewhere, as well as personal
knowledge. (/d.). According to Mr. Kozak, U.S. government officials from the White House and
Department of State have “negotiated at the highest levels with the Government of E] Salvador
and with Nicholas Maduro and his representatives in Venezuela in recent weeks for those countries
to consent to the removal to Venezuela and El Salvador” of some of the members of TdA. (/d.).
According to Mr. Kozak, agreements “were recently reached to this effect with these foreign
interlocutors to accept the removal of some number of Venezuelan members of TdA. These
arrangements were the result of intensive negotiations between the United States and El Savador,
and between the United States and the representatives of the Maduro regime.” (/d. at 3).

D. Procedural and Factual History of this Case

Against this backdrop, the Court turns its attention to the procedural and factual history of

this case. In doing so, the Court notes that three of the central issues before it are: (1) whether the
Court has jurisdiction over A.S.R.’s Petition, (2) whether the case or controversy requirement is
satisfied in this case, and (3) whether the due process that Respondents are currently providing to
the individuals subject to the Proclamation is constitutionally sufficient. Accordingly, much of
what follows pertains to those issues.

On April 15, 2025, at 10:38 A.M., A.S.R. filed his Habeas Petition. (ECF No. 1). On that
same day, he filed his Motion for a Temporary Restraining Order and his Motion for Class
Certification and Appointment of Class Counsel. (ECF Nos. 2, 4).

A.S.R. represents that, as of the time he filed his Petition, he was a “Venezuelan man in
immigration custody at risk of imminent removal” under the Proclamation. (ECF No. 1 at 2). Along
with his Petition, A.S.R. submitted a Declaration from his attorney. (ECF No. 1-2). In that
Declaration, A.S.R’s counsel made the following statements: (1) as of April 14, 2025, A.S.R. was
detained at the Immigration Customs and Enforcement (“ICE”) Moshannon Valley Processing
Center (“MVPC”) in Philipsburg, Pennsylvania, (2) A.S.R. is a citizen of Venezuela who was born
in 1995, (3) on February 26, 2025, ICE asked A.S.R. to come in to be put on the Intensive
Supervision Appearance Program (“ISAP”), (4) during that appointment, ICE arrested A.S.R. and
told him that his neighbor had reported that he is a member of TdA, (5) ICE officers asked him
about his tattoos, (6) ICE filed an I-213 accusing A.S.R. of being affiliated with TdA, and (7) while
A.S.R. was detained at MVPC, he was in pending immigration removal proceedings, with an
immigration hearing scheduled on April 15, 2025, in Elizabeth Immigration Court.' (id. at 2).
A.S.R. denies that his tattoos are connected to TdA, and he “vehemently denies any connection”

to that organization. (/d. at 2-3). Finally, according to A.S.R.’s counsel, it appeared that A.S.R.

1 The Court notes that Elizabeth Immigration Court is in Elizabeth, New Jersey. Elizabeth Immigration Court,
EXECUTIVE OFFICE FOR IMMIGRATION REVIEW, https://www justice.gov/eoir/elizabeth-immigration-court.

8
was Mat grave risk of ICE alleging that he is removable under the [AEA] as a member of [TdA].”
(Id. at 3).

On April 15, 2025, at 3:12 P.M., this Court entered a temporary restraining order
temporarily barring Respondents from “either removing [A.S.R.] ... from the United States, or
from transferring [A.S.R.] ... from the Western District of Pennsylvania.” (ECF No. 8 at 1). The
Court also scheduled a temporary restraining order hearing for April 18, 2025. (Ud. at 2).

Then, on April 16, 2025, A.S.R. advised the Court that, the previous day, the Government
had transferred him to Bluebonnet Detention Center (“Bluebonnet”) in Anson, Texas. (ECF No.
25 at 1).

Also on April 16, 2025, the Government submitted a Declaration from Deputy Field Office
Director David O’Neill (“Director O’Neill”) confirming that A.S.R. had been transferred to
Bluebonnet on April 15, 2025. (ECF No. 26-5 at 3). Further, according to Director O’Neill, he was
“unaware of any Venezuelan citizens detained at MVPC who [were] confirmed members of [TdA]
and have been, are, or will be subject to the [Proclamation.]” (Jd. at 4). Critically, as the Court
discusses below, Director O’Neill’s Declaration is dated April 16, 2025, the day after the
Government moved A.S.R. to Bluebonnet. (/d.).

On April 17, 2025, the Court held a status conference with the parties, during which the
Court heard from the parties regarding whether it had jurisdiction over A.S.R.’s Petition. (ECF
No. 29). The Court also directed the parties to submit briefs relative to that issue. (/d.).

After receiving such briefing from the parties, the Court issued a Memorandum Opinion
on April 25, 2025, in which the Court noted that the “parties agree[d] that A.S.R. was present in
this District when he filed his Petition at 10:38 A.M. on April 15, 2025, and he was no longer in

this District when the Court issued its [temporary restraining order] at 3:12 P.M. that same day.”
(ECF No. 44 at 5). Therefore, the Court held that, because “A.S.R. was present in this judicial
District when he filed his Petition and named his immediate custodian, this Court has jurisdiction
over his Petition, and his subsequent transfer to another district does not deprive this Court of that
jurisdiction.” (/d.).?

Also on April 25, 2025, this Court ordered that its temporary restraining order would
remain in effect until May 13, 2025, at 3:12 P.M. (/d. at 8). That order barred Respondents from
removing A.S.R. under the Proclamation and the AEA absent fourteen (14) days’ notice and an
“opportunity to challenge [his] removal.” (/d.). The Court directed that this notice be provided “in
English and Spanish, the language of those sought to be expelled, and if needed, Spanish-to-
English interpreters shall be provided for any necessary hearings.” (/d.). The Court’s order also
barred Respondents from transferring A.S.R. out of the Northern District of Texas under the AEA.
(id. at 9). Finally, the Court informed A.S.R. that he was permitted to file a motion for a
preliminary injunction, and, in the event that he so filed, the Court scheduled a preliminary
injunction hearing for May 5, 2025. Ud.).

The Court’s other April 25, 2025, order that is especially significant at this juncture of this
case was its order certifying a class in this matter. (ECF No. 45). The Court notes that it is issuing
a separate Opinion and Order of Court today finding that the legal requirements of a class are no
longer satisfied in this case. Accordingly, the Court proceeds with its analysis under the conclusion
that this is a single-petitioner habeas case—brought by A.S.R. alone.

On April 29, 2025, A.S.R. filed his Motion for a Preliminary Injunction and Brief in

Support. (ECF Nos. 56, 57). In his Motion, A.S.R. requests that the Court grant him the following

2 In their April 24, 2025, submission to the Court, Respondents agreed that, because “A.S.R. was physically present
in the Western District of Pennsylvania until at least 11:15 a.m. on April 15, 2025, [] jurisdiction and venue attached
in the Western District when the Petition was filed.” (ECF No. 41 at 4).

10
relief: (1) a declaration that he is likely to prevail on the merits of his constitutional and statutory
challenges to the AEA, (2) an injunction barring Respondents and those associated with them from
removing A.S.R. under the AEA, (3) an injunction barring Respondents and those associated with
them from transferring A.S.R., (4) an order requiring Respondents to return A.S.R. to this District,
(5) an order requiring Respondents to provide at least thirty (30) days’ notice prior to any removals
under the AEA, and (6) an order requiring Respondents to provide counsel with notice of the
designation of alien enemies within the Western District of Pennsylvania. (ECF No. 56 at 4).

On May 1, 2025, Respondents filed their response to A.S.R.’s Motion for a Preliminary
Injunction. (ECF No. 59 at 8). In that document, Respondents argued that, prior to April 16, 2025,
ICE had “reviewed the facts of A.S.R.’s case and concluded that he is not subject to the
[Proclamation,]” meaning that he lacks standing to advance his claims in this case. (ECF No. 59
at 7-8). In support of this statement, Respondents cite to Director O’Neill’s Declaration. (/d. at 8)
(citing ECF No. 26-5 §§ 11-18). Finally, and somewhat confusingly, Respondents also indicate
that, as of May 1, 2025, “ICE has not yet determined that A.S.R. is currently subject to the
Proclamation governing removals related to TdA.” (/d. at 5).

On May 2, 2025, A.S.R. filed his Reply in support of his Motion for a Preliminary
Injunction. (ECF No. 66).

Finally, on May 5, 2025, the Court conducted a preliminary injunction hearing. (ECF No.
68). During that hearing, two things occurred that are especially relevant to this Court’s analysis
of the issues of jurisdiction/standing and the notice that Respondents are providing. With respect
to jurisdiction/standing, counsel for Respondents indicated that he could not guarantee this Court,
with absolute certainty, that the Government will not deem A.S.R. to be subject to removal under

the Proclamation in the future. Second, with respect to notice, counsel for Respondents stated that

11
they are currently providing individuals designated for removal under the AEA at least 12 hours’
notice in order to indicate that they will seek habeas relief. If an individual indicates that he or she
intends to file in habeas, then Respondents will give that individual at least another 24 hours to so
file. Finally, counsel for Respondents stated that, if an individual does file for habeas, the
government has no intent to remove that individual pending his or her litigation.
I. Threshold Issues

The Court begins its discussion of the relevant legal issues by resolving the questions of
whether it has jurisdiction over A.S.R.’s Petition and whether the case or controversy requirement
of Article III, Section 2 of the Constitution is satisfied in this matter. The Court then will discuss
the scope of its review of the Proclamation.

A. This Court Has Jurisdiction Over A.S.R.’s Petition and the Case or
Controversy Requirement is Satisfied

At the preliminary injunction hearing on May 5, 2025, counsel for Respondents informed
the Court that A.S.R. is not currently subject to the AEA and he is not being designated, detained,
or removed pursuant to that authority, but rather he is detained pursuant to the INA. Therefore,
because A.S.R. is not currently in custody under the AEA, counsel for Respondents argue that this
Court lacks jurisdiction over A.S.R.’s Petition. For the same reasons, counsel for Respondents also
contend that A.S.R. lacks standing to challenge the AEA and the Proclamation. For the following
reasons, the Court finds that Respondents are incorrect on both counts.

1. This Court has Jurisdiction Over A.S.R.’s Petition?
As the Supreme Court has explained, the “federal habeas statute gives the United States

district courts jurisdiction to entertain petitions for habeas relief only from persons who are ‘in

3 The Court assumes without deciding that Respondents have not waived their argument regarding jurisdiction by
representing to the Court, on April 24, 2025, that this Court had jurisdiction over A.S.R.’s Petition, (ECF No. 41 at

5).
12
custody in violation of the Constitution or laws or treaties of the United States.”” Maleng v. Cook,
490 U.S. 488, 490 (1989) (quoting 28 U.S.C. § 2241(c)(3)) (emphasis in original). The Supreme
Court has “interpreted [this] statutory language as requiring that the habeas petitioner be ‘in
custody’ under the conviction or sentence under attack at the time his petition is filed.” Jd. at 490—
91. Further, the Supreme Court has “liberally construed the ‘in custody’ requirement for purposes
of federal habeas[.]” Jd. at 492. Indeed, where a habeas petitioner is serving a federal sentence and
has a detainer relative to a pending state sentence, that petitioner may challenge his state sentence,
even though he has not yet started to serve it. Jd. at 493. Finally, courts are to determine the “in-
custody” jurisdictional requirement as of the time a petitioner files his or her habeas petition.
Chong v. Dist. Dir. LN.S., 264 F.3d 378, 382-83 (3d Cir. 2001) (finding that it had jurisdiction
over a habeas petition where the petitioner was in custody when she filed her petition and ICE
subsequently deported her to Malaysia); (see also Respondents’ Brief, ECF No. 59 at 16) (noting
that habeas “requires a petitioner to be ‘in custody’ under the specific conviction or restraint being
challenged at the time of filing.”) (emphasis added).

In this case, as discussed above, A.S.R.’s counsel made the following statements on April
14, 2025, (1) as of that date, A.S.R. was detained at the ICE MVPC in Philipsburg, Pennsylvania,
(2) A.S.R. is a citizen of Venezuela who was born in 1995, (3) on February 26, 2025, ICE asked
A.S.R. to come in to be put on the ISAP, (4) during that appointment, ICE arrested A.S.R. and told
him that his neighbor had reported that he is a member of TdA, (5) ICE officers asked him about
his tattoos, (6) ICE filed an I-213 accusing A.S.R. of being affiliated with TdA, and (7) while
A.S.R. was detained at MVPC, he was pending immigration removal proceedings, with an

immigration hearing scheduled on April 15, 2025, in Elizabeth Immigration Court in Elizabeth,

13
New Jersey. See supra Section I.D. All of these facts very strongly suggest that as of April 15,
2025, at 10:38 A.M., A.S.R. was “in custody” under the AEA and the Proclamation.

One other point solidifies the Court’s conclusion on this score. A.S.R. was scheduled for
an immigration hearing in Elizabeth Immigration Court in Elizabeth, New Jersey on April 15,
2025,‘ and at the preliminary injunction hearing, counsel for Respondents represented that A.S.R.
is being processed under the INA. Taking those two representations together, the Court is left with
the following question: If A.S.R. has always been in custody under the INA rather than the AEA,
and since A.S.R. had an immigration hearing scheduled in Elizabeth Immigration Court in New
Jersey on April 15, 2025, why then did Respondents move A.S.R. to Texas on April 15, 2025,
rather than attending his immigration hearing (thereby apparently delaying his potential removal
under the INA)? The Court cannot square that circle. Instead, this Court deems A.S.R.’s abrupt
movement to Texas on April 15, 2025, a time at which Respondents were moving several
individuals in preparation to remove them under the AEA and the Proclamation, conclusive
evidence that A.S.R. was then “in custody” pursuant to the AEA.

Respondents’ arguments to the contrary do not change this Court’s conclusion. As the
Court noted earlier, Respondents assert that, prior to April 16, 2025, ICE “reviewed the facts of
A.S.R.’s case and concluded that he is not subject [to the Proclamation.]” (ECF No. 59 at 8).
However, the evidence to which Respondents cite in support of that conclusion, the Declaration of
Director O'Neill, does not say that ICE had determined that A.S.R. was not removable under the
Proclamation. (ECF No. 26-5). Indeed, while Director O’Neill’s Declaration does contain a

statement that no one at MVPC was subject to the Proclamation as of the day Director O’Neill

4 Respondents have indicated that this hearing was scheduled for May 1, 2025. (ECF No. 26 at 2). Even if that were
true, it would not change the Court’s analysis. Given the number of individuals currently in ICE detention, it is far
from clear to this Court that a May 1, 2025, hearing set for New Jersey can easily be rescheduled for May 1, 2025, in
Texas.

14
offered his Declaration, that Declaration was made on April 16, 2025, the day after A.S.R. was
moved from MVPC. (Id. at 4). Finally, and most to the point, Respondents also have asserted that,
as of May I, 2025, “ICE has not yet determined that A.S.R. is currently subject to the
Proclamation[.]” (ECF No. 59 at 5). This Court must ask: If ICE determined, before April 16,
2025, that A.S.R. is not subject to the Proclamation, why are Respondents now making the
statement that ICE has not yet made that determination relative to A.S.R.?

In short, while the Court has before it representations indicating that A.S.R. was in custody
under the INA as of April 15, 2025, the Court finds that to believe those representations would be
to exalt form over fairly significant evidentiary substance.’ The Court therefore finds that, as of
April 15, 2025, at 10:38 A.M., when A.S.R. filed his Habeas Petition, he was “in custody” pursuant
to the Proclamation and the AEA. Accordingly, this Court had jurisdiction over A.S.R.’s Petition
when he filed it, and the Court finds that, even if Respondents did subsequently shift him to
removal proceedings under the INA, that subsequent action does not deprive this Court of
jurisdiction, which is measured at the time the Petition is filed. Chong, 264 F.3d at 382-83; see
also Maleng, 490 U.S. at 492 (noting that the Supreme Court “very liberally construes the ‘in

custody’ requirement for purposes of federal habeas”).°

5 The Court is not finding that any particular individual has attempted to deceive the Court. Rather, the Court is
speaking to Respondents’ contentions as a cohesive group—those contentions are simply not persuasive.

6 As the Court noted earlier, where a habeas petitioner is serving a federal sentence and has a detainer relative to a
pending state sentence, that petitioner may challenge his state sentence, even though he has not yet started to serve it.
Maleng, 490 U.S. at 493. At the very least, even if A.S.R. technically was (or is) subject to removal under the INA
rather than the AEA, the Court would still find, in light of all of the facts, representations, and arguments before it,
that this Court has jurisdiction over this Petition because A.S.R. effectively has a detainer against him indicating that
he is subject to removal under the Proclamation. In other words, this Court finds that, at any moment, Respondents
could (and indeed may) redesignate (or designate) A.S.R. as removable under the AEA and the Proclamation.

15
Accordingly, the Court turns its attention to the issue of standing. Chong, 264 F.3d at 382—
83 (resolving jurisdictional issue and then proceeding to consider whether an Article III, Section
2 case or controversy continued to exist despite petitioner’s deportation).

2. The Case or Controversy Requirement is Satisfied

With respect to the issue of standing, the Third Circuit recently has offered the following
articulation of the law:

The jurisdiction of the federal courts extends only to “Cases” and “Controversies.”

U.S. Cont. art. I, § 2. And “[uJnder Article IIT, a case or controversy can exist only

if a plaintiff has standing to sue.” Associated Builders & Contractors W. Pa. v.

Cmty. Coll. of Allegheny Cnty., 81 F.4th 279, 286 (3d Cir. 2023) (citation omitted).

To establish Article III standing, a plaintiff must “show that she has suffered, or

will suffer, an injury that is concrete, particularized, and actual or imminent; fairly

traceable to the challenged action; and redressable by a favorable ruling.” Murthy

v. Missouri, 603 U.S. 43, 57 (2024) (quoting Clapper v. Amnesty Int’l USA, 568

398, 409 (2013) (cleaned up). The plaintiff has to satisfy these requirements, which

she must do “for each form of relief that [she] seek[s].” TransUnion LLC v.

Ramirez, 594 U.S. 413, 431 (2021).
Reading v. N. Hanover Twp., N.J., 124 F.4th 189, 196 (3d Cir. 2024) (cleaned up). Further, where
a petitioner “seeks prospective relief to address future harm, [he] must show that the ‘threatened
injury is certainly impending or there is a substantial risk that the harm will occur.’” Jd. (quoting
Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)) (cleaned up).

Here, in light of the Court’s finding above that A.S.R. was “in custody” pursuant to the
AEA and the Proclamation when he filed his Petition, see swpra Section II.A.1, the Court readily
finds that he had standing as of that time. Indeed, when he filed his Petition, A.S.R. was personally
facing removal from the United States (a concrete, particularized, and actual or imminent injury)
under the AEA and the Proclamation (the challenged action) that was redressable by a favorable

ruling from this Court (in the form of an injunction, a declaration, the grant of a writ of habeas

corpus, or the like). See Gulden v. Exxon Mobil Corp., 119 F.4th 299, 306-07 (3d Cir. 2024).

16
Further, even if this Court had found that A.S.R. was subject to removal under the INA rather than
the AEA when he filed his Petition, the Court would still hold, for the reasons above, see supra
Section II.A.1, that there was a “substantial risk” that A.S.R. would have been removed under the
AEA and the Proclamation as of the time that he filed his Petition. Reading, 124 F.4th at 196.
Therefore, the Court holds that A.S.R. had standing to bring his Petition as of April 15, 2025, at
10:38 A.M.

But what about the fact that Respondents contend that A.S.R. is not currently subject to the
AEA and the Proclamation? That issue implicates mootness.

As the Third Circuit has explained, the “loss of Article III standing by itself ... does not
moot a case; the [respondent] must also demonstrate that no mootness exception applies.” Gulden,
119 F.4th at 305. Indeed, a “‘case cannot be moot if a [petitioner] establishes Article [I standing, ~
and the [respondent] is unable to demonstrate both the loss of standing and the inapplicability of
the exceptions to mootness.” Jd.

Therefore, assuming without deciding that A.S.R. is no longer subject to the AEA and the
Proclamation (and likewise no longer at substantial risk of being redesignated as such), the Court
inquires whether Respondents have shown that no exception to mootness applies.

The two most likely potential exceptions here are voluntary cessation and capable of
repetition yet evading review. Guldon, 119 F.4th at 308. With respect to voluntary cessation, that
exception “applies when a defendant ceases the allegedly illegal conduct that caused the injury but
remains free to return to his old ways.” Jd. (internal quotation marks and citation omitted). The
Court finds that that exception is plainly applicable here. Even if Respondents have voluntarily
chosen to now make A.S.R. subject to the INA rather than the AEA, there is nothing preventing

them from “returning to their old ways” and again subjecting him to the Proclamation. This Court’s

17
discussion with counsel for Respondents during the preliminary injunction hearing confirmed as
much. See supra Section I.D (noting that “counsel for Respondents indicated that he could not
guarantee this Court, with absolute certainty, that the Government will not deem A.S.R. to be
subject to removal under the Proclamation in the future”).

The second exception to mootness, capable-of-repetition-yet-evading-review has two
prongs. Guldon, 119 F.4th at 309. The first, capable-of-repetition, requires “a reasonable
expectation or a demonstrated probability that the same controversy will recur involving the same
complaining party.” Jd. (cleaned up). The Court holds that that prong is satisfied here. Based on
all of the facts before the Court, including the fact that counsel for Respondents declined to state
definitively that the Government will not again designate A.S.R. as subject to the Proclamation,
the Court finds that there is a demonstrated probability that the same controversy (A.S.R. being
subject to the Proclamation) will recur involving the same complaining party (A.S.R.). The second
prong, evading-review, requires that the “challenged action [must be] in its duration too short to
be fully litigated prior to its cessation or expiration[.]” /d. (cleaned up). As the Court noted above,
in the absence of a contrary order from this Court, the Government would give A.S.R. twelve hours
to indicate that he is seeking habeas relief against his removal under the AEA. See supra Section
LD. The Court finds that this action is “in its duration too short to be fully litigated prior to its
cessation or expiration.” Guldon, 119 F.4th at 309. Accordingly, the Court holds that this exception
to mootness likewise applies in this case.

In short, for all of the foregoing reasons, the Court finds that it has jurisdiction over
A.S.R.’s Petition, and the Court also finds that the case or controversy requirement is satisfied
here. The Court therefore turns its attention to the issue of the scope of its review in this matter.

B. Scope of Review

18
On April 7, 2025, the Supreme Court heard an appeal regarding President Trump’s
Proclamation directing the “detention and removal of Venezuelan nationals believed to be
meinbers of [TdA], an entity that the State Department has designated as [an FTO.]” .G.G. v.
Trump, 145 8S. Ct. 1003, 1005 (2025). In resolving that appeal, the Supreme Court noted that, on
the one hand, “judicial review under the AEA is limited,” but on the other hand, an “individual
subject to detention and removal under that statute is entitled to ‘judicial review’ as to ‘questions
of interpretation and constitutionality’ of the Act as well as whether he or she ‘is in fact an alien
enemy fourteen years of age or older.’” Jd. at 1006 (quoting Ludecke v. Watkins, 335 U.S. 160,
163, 172, n.17 (1948)).

Clearly, based on this statement by the Supreme Court, this Court can interpret the meaning
of words and terms within the AEA, such as “invasion” and “predatory incursion.” J.A.V. v. Trump,
No. 1-25-CV-072, 2025 WL 1257450, at *9 (S.D. Tex. May 1, 2025). This Court may likewise
consider questions such as how much notice is due to an individual subject to the Proclamation.
See LG.G., 145 S. Ct. at 1006 (“More specifically, in this context, AEA detainees must receive
notice after the date of this order that they are subject to removal under the Act. The notice must
be afforded within a reasonable time and in such a manner as will allow them to actually seek
habeas relief in the proper venue before such removal occurs.”). Finally, the Court may
theoretically assess the constitutionality of the AEA, although that issue is well-settled in favor of
the Act, Ex parte Zenzo Arakawa, 79 F. Supp. 468, 470 (E.D. Pa. 1947) (noting that “there can be
no question that the [AEA] is constitutional” and collecting cases in support of that principle), and
the Court may also assess whether an individual alien is in fact an alien enemy subject to the AEA,
a question that A.S.R. does not presently press upon this Court. Thus far, the scope of this Court’s

review appears clear.

19
However, A.S.R. invites a more intensive inquiry when he asserts that the Proclamation’s
findings “cannot survive even the most minimally searching inquiry because they are simply
incorrect as a factual matter.” (ECF No. 57 at 22).

In declining this invitation, the Court first notes that .G.G. offers no permission for this
Court (or any court) to weigh the truthfulness of factual representations within a presidential
proclamation pursuant to the AEA. 7.G.G., 145 S. Ct. at 1006 (noting that judicial review under
the AEA is “limited” and listing, as the proper subjects of judicial review: (1) questions of
interpretation, (2) questions of constitutionality, and (3) the question of whether an individual is
in fact an alien enemy fourteen years of age or older). Further, in Ludecke, the Supreme Court
expressed a hesitancy to wade into weighing whether a state of war still existed, a reality that
triggered the “declared war” component of the AEA and permitted the president to employ that
Act. 335 U.S. at 170 (“These are matters of political judgment for which judges have neither
technical competence nor official responsibility.”).’

In this same vein, the United States District Court for the Southern District of Texas
recently concluded that, after a court construes the meaning of statutory terms, such as “invasion”
and “predatory incursion,” it “is left to the Executive Branch to determine [whether an invasion or
predatory incursion has occurred.] As to this decision, the court may not delve into whether the
Executive Branch possesses sufficient support for its conclusion, or whether the court agrees with
the Executive Branch’s determinations.” J.4. V., 2025 WL 1257450, at *10. Indeed, that “analysis
would require the Executive Branch to disclose to the court the domestic and foreign intelligence

that undergirds the finding of an actual or threatened invasion or predatory incursion[,]” which

7 At least to an extent, A.S.R. himself recognizes this when he notes that, in Ludecke, the “political judgment” that the
Supreme Court “declined to revisit ... was simply the decision of Congress and the President not to formally declare

the war over.” (ECF No. 57 at 10).
20
would be contrary to law. /d. (collecting cases in support); see also U.S. ex rel. Jaegeler v. Ugo
Carusi, 187 F.2d 912, 913 (3d Cir. 1951) (“From the beginning, the [AEA] has been uniformly
recognized as not subject to judicial review.”) (judgment vacated on other grounds). Therefore,
this Court may not (and therefore will not) assess the truthfulness of the statements in the
Proclamation.

Before leaving this subject, the Court also notes that the Southern District of Texas further
concluded that a “Presidential declaration invoking the AEA must include sufficient factual
statements or refer to other pronouncements that enable a court to determine whether the alleged
conduct satisfies the conditions that support the invocation of the statute.” JA.V., 2025 WL
1257450, at *11. That is, while a “President’s declaration invoking the AEA need not disclose all
of the information that the Executive Branch possesses to support its invocation of the statute, it
must identify sufficient information to permit judicial review of whether the foreign nation or
government’s conduct constitutes” a predatory incursion or the like. /d. This articulation of the
law appears reasonable and correct to this Court, and as the Court finds below, this particular
Proclamation meets this standard. Therefore, the Court need not spend extensive time working out
the nuances of its review—the Court assumes without deciding that the Southern District of Texas
is correct on this issue and proceeds accordingly.

HI. Discussion

The Court now squarely addresses A.S.R.’s request for a preliminary injunction.

A. Legal Standard: Preliminary Injunction

As the Third Circuit has explained:

“Preliminary injunctive relief is an extraordinary remedy, which should be granted

only in limited circumstances.” Ferring Pharms., Inc. v. Watson Pharms., Inc., 765

F.3d 205, 210 (3d Cir. 2014) (internal quotation marks omitted). Under the familiar
standard of proof, a party “seeking a preliminary injunction must establish that [he]

21
is likely to succeed on the merits, that [he] is likely to suffer irreparable harm in the
absence of preliminary injunctive relief, that the balance of equities tips in [his]
favor, and that an injunction is in the public interest.” Winter v. Nat. Res. Def
Council, Inc., 555 U.S. 7, 20 (2008). “Generally, the moving party must establish
the first two factors and only if these gateway factors are established does the
district court consider the remaining two factors.” Greater Phil. Chamber of Com.
v. City of Phil., 949 F.3d 116, 133 (3d Cir. 2020) (internal quotation marks omitted).
If the gateway factors are met, “[t]he court then determines in its sound discretion
if all four factors, taken together, balance in favor of granting the requested
preliminary relief.” /d. (internal quotation marks omitted).

SEC vy, Chappell, 107 F.4th 114, (3d Cir. 2024) (cleaned up).
B. Likelihood of Success on the Merits
In assessing A.S.R.’s likelihood of success on the merits, the Court begins by determining

whether the Proclamation satisfies the definition of a “predatory incursion” under the AEA.

1. The Proclamation Meets the Definition of a “Predatory Incursion” Under the
AEA$

a. Relevant Principles of Statutory Construction

When interpretating a statute, this Court’s “job is to interpret the words consistent with
their ‘ordinary meaning ... at the time Congress enacted the statute.’” Wis. Ctr. Ltd. v. United
States, 585 U.S. 274, 277 (2018) (quoting Perrin v. United States, 444 U.S. 37, 42 (1979)). Indeed,
this Court’s “analysis begins with the plain language of the statute[,]” and where that language is
“plain, [a court] must enforce it according to its terms.” Jimenez v. Quarterman, 555 U.S. 113, 118
(2009); see also United States v. Brow, 62 F.4th 114, 119 Gd Cir. 2023) (noting that a “court
considers the language of a statute in its natural and ordinary signification and if there is no
ambiguity or obscurity in its language, there will usually be no need to look elsewhere to determine
its intent”); Bonkowski v. Oberg Indus., 787 F.3d 190, 199 (3d Cir. 2015) (finding it “significant

that the District Court did not mention alternative [dictionary] definitions” of the relevant words

5 Because the Court reaches this finding, it need not and does not reach the issue of what “invasion” means under the
AEA.

22
and concluding that the District Court adopted an “overly narrow” definition of the regulation at
issue).

Further, as the Supreme Court has explained, while “every statute’s meaning is fixed at the
time of enactment, new applications may arise in light of changes in the world.” Wis. Ctr. Ltd.,
585 U.S. at 284 (emphasis in original). For example, when construing the meaning of “money” in
a 1937 statute, the Supreme Court held that the term must always mean a ““‘medium of exchange.’
But what qualifies as a ‘medium of exchange’ may depend on the facts of the day.” Jd. (emphasis
in original). Accordingly, while “electronic transfers of paychecks” may not have been common
in 1937, the Supreme Court had “no doubt they would qualify today as ‘money remuneration’
under the statute’s original public meaning.” Jd.

Similarly, in the context of interpreting constitutional rights, the Supreme Court has held
that, while the meaning of a constitutional provision does not change, what qualifies as protected
within that provision develops based on the facts of the day. D.C. v. Heller, 554 U.S. 570, 582
(2008). Specifically:

Just as the First Amendment protects modern forms of communications, e.g., Reno

v. American Civil Liberties Union, 521 U.S. 844, 849 (1997), and the Fourth

Amendment applies to modern forms of search, e.g., Kyllo v. United States, 533

U.S. 27, 35-36 (2001), the Second Amendment extends, prima facie, to all

instruments that constitute bearable arms, even those that were not in existence at

the founding.

Heller, 554 US. at 582.
b. The Court Rejects Respondents’ Definition of “Predatory Incursion”

For their part, Respondents urge this Court to find that “predatory incursion” under the

AEA means “(1) an entry into the United States (2) for purposes contrary to the interests or laws

of the United States.” (ECF No. 59 at 18). The Court deems that definition deficient.

23
The Court’s basis for this finding is rooted in the dictionary definitions of the words
“predatory” and “incursion.” One 1773 dictionary defines “predatory” as “[p]lundering; practicing
rapine[;]” or “[h]ungry; preying; rapacious; ravenous.” Samuel Johnson’s Dictionary (1773 ed.),
https://johnsonsdictionaryonline.com/views/search.php?term=predatory (last accessed May 9,
2025).? That same dictionary defines “incursion” as “[a]ttack; mischievous occurrence[;]” or
“Tijnvasion without conquest; inroad; ravage.” Id.

Another dictionary, Webster’s 1828 dictionary, defines “predatory” as “[p]lunderng;
pillaging; characterized by plundering; practicing rapine; as a predatory war; a predatory
excursion; a predatory party[;]” or “[h]ungry; ravenous; as predatory spirits or appetite.” NOAH
WEBSTER, AMERICAN DICTIONARY OF THE ENGLISH LANGUAGE (1828 ed.) (ebook) (emphasis in
original).!° Further, this same dictionary defines “incursion” as:

1. Literally, a running into; hence, an entering into a territory with hostile intention;

an inroad; as applied to!! the expeditions of small parties or detachments of an

enemy’s army, entering a territory for attack, plunder, or destruction of a post or

magazine. Hence it differs from invasion, which is the hostile entrance of an army

for conquest. During the revolution, the British troops made an incursion to

Danbury, and destroyed the magazines. In opposing this incursion, Gen. Wooster

was killed.

2. Attack; occurrence; as sins of daily incursion. [Unusual.]

Id. (emphasis in original).

° The Court notes that this online version of Johnson’s Dictionary is supported by the National Endowment of the
Humanities, among other entities.

'0 The Court notes that citations to ebooks are generally disfavored. However, the Preface to the particular ebook that
the Court uses here indicates that its pages contain an “exact digital replica of the original hardcover edition of 1828.”
NOAH WEBSTER, AMERICAN DICTIONARY OF THE ENGLISH LANGUAGE (1828 ed.) (ebook). Further, the Court does not
have on hand a physical copy of this edition of this dictionary. Therefore, the Court deems it appropriate to cite to this
ebook in this instance.

l The Court calls to the reader’s attention the fact that this part of the definition reads “as applied to[.}’ The Court
simply notes that this language implies that the definition “hence, an entering into a territory with hostile intention;”
could be “applied to” something other than a detachment of an army.

24
The Court pauses here to remark that these definitions contain at least two characteristics
that Respondents’ definition does not. First, they speak to a cohesive unit entering territory for a
united purpose. Respondents’ proposed definition is therefore deficient insofar as it could apply to
a single individual rather than a collective unit. And second, these definitions indicate that
incursion was commonly used to refer to military activity in 1798. Respondents’ definition is also
therefore deficient because it does not sufficiently account for the common and significant
destructive purpose for which a cohesive unit must enter territory in order to be considered a
“predatory incursion.”

The Court’s initial observations regarding the meaning of “predatory” and “incursion” are
confirmed by the uses of those words in and around 1798. Indeed, in 1805, the Supreme Court
referred to “hostile incursions” at the hands of Indian tribes within the context of war.
Huidekoper’s Lessee v. Douglass, 4 U.S. 392, 401 (1805). Clearly, this action was taken by a
cohesive unit that was entering territory with a common and significant destructive purpose.
Likewise, in 1832, the Supreme Court quoted a charter to William Penn containing the following
language: ““because, in so remote a country, near so many barbarous nations, the incursions, as
well as of the savages themselves, as of other enemies, pirates, and robbers, may probably be
feared ...” and noting that the instrument then conferred the power of war. Worcester v. Georgia,
31 U.S. 515, 545 (1832).!? Finally, based on its extensive consideration of the use of “predatory
incursion” and “incursion” in and around 1798, the United States District for the Southern District
of Texas found that “incursion” then “referenced, a military force or an organized, armed force

entering a territory to destroy property, plunder, and harm individuals, with a subsequent retreat

'2 The Court calls the reader’s attention to the fact that “incursions” was used here in reference to both pirates and
robbers. In reading this quotation, the Court cannot help but ask: Is a Foreign Terrorist Organization like TdA not the
modern equivalent of a pirate or robber? The Court takes that subject up in more detail below.

25
from that territory.” .4.V. v. Trump, No. 1:25-CV-072, 2025 WL 1257450, at *16 (S.D. Tex. May
1, 2025).

Therefore, because the Court finds that Respondents’ definition does not sufficiently do
justice to the magnitude of what the AEA requires, the Court rejects it. In short, “migration alone”
does not constitute a “predatory incursion” under the AEA, and Respondents’ proposed definition
would lead to certain “migration alone” qualifying as a “predatory incursion” under the statute.
JG.G. v. Trump, No. 25-5067, 2025 WL 914682, at *10-11 (D.C. Cir. Mar. 26, 2025)
(Hendrickson, J., concurring) (noting, however, that she was not “pass[ing] on whether TdA has
conducted an ‘invasion or predatory incursion’ ‘against the territory of the United States”).

c. The Court Rejects A.S.R.’s Definition of “Predatory Incursion”

For his part, A.S.R. argues that “predatory incursion” under the AEA is a “military action[]
by [a] foreign government{[] that constitute[s] or imminently precede[s] acts of war.” (ECF No. 57
at 19-20). Therefore, A.S.R. contends that “[mJass illegal immigration[,]” and “criminal activities”
fall short of what the statute requires. (id. at 20). The Court agrees with aspects of A.S.R.’s
definition—a “predatory incursion” certainly requires a cohesive unit entering territory with a
common and significant destructive purpose, and, as the Court has held, “migration alone” does
not suffice. However, A.S.R.’s recounting of the Proclamation suffers from one defect: it omits
the fact that, here, the Court is not dealing with “mass illegal immigration” or “criminal activities”
alone, but rather an entity that has been designated an FTO in accordance with legal process. See
supra Section IB.

That fact has been weighing heavily on the Court in considering the significant questions
before it. To reiterate, the United States Secretary of State may only designate as an FTO a foreign

organization when that organization “engages in terrorist activity [as defined by law,] or terrorism

26
[as defined by law], or retains the capability and intent to engage in terrorist activity or terrorism”
and when the “terrorist activity or terrorism of the organization threatens the security of United
States nationals or the national security of the United States.” 8 U.S.C. § 1189(a)(1)(B){C).
Further, a designated FTO may seek extensive judicial review before the District of Columbia
Circuit, and Congress may always block or revoke the Secretary of State’s designation of an FTO.
See id. § 1189. In light of the foregoing, coupled with the fact that the Supreme Court has indicated
that courts should consider a statute’s meaning as fixed, but its application as subject to change in
light of modern developments, Wis. Cir. Lid., 585 U.S. at 284, the Court must ask another question:
Is a duly-designated FTO that meets the statutory requirements of Title 8, United States Code,
Section 1189, and that, according to the Proclamation, enters the United States for purposes such
as destabilizing the country, committing rampant crime, and then funneling profits from that crime
back to South America, among other things, see supra Section I, not the very definition of a
cohesive group entering territory with a common and significant destructive purpose, just as a
detachment of a military in 1798? Is such an FTO not the modern equivalent of the “enemies,
pirates, and robbers,” committing “incursions” around the enactment of the AEA? Worcester, 31
U.S. at 545. For four interrelated reasons, the Court answers these questions in the affirmative.
First, the AEA does not require an “invasion or predatory incursion” to be “perpetrated,
attempted, or threatened against the territory of the United States by the military of any foreign
nation or government.]” 50 U.S.C. § 21 (emphasis added). The italicized words are not present in
the text, and the word “military” is not in Section 21. Accordingly, if “predatory incursion”
necessitates “military” action, that necessity must come from the meaning of “predatory incursion”

as of 1798, not the statute itself.

27
Second, the words “terrorist” and “terrorism” were not in any significant use in 1798.
Indeed, neither of the dictionaries that the Court consulted above contains an entry for the word
“terrorist” or “terrorism.” See supra Section II.B.1.b. Further, based on this Court’s review of
both federal and state caselaw, the first use of “terrorist” that the Court could locate was in 1941,
Hoan vy. Journal Co., 298 N.W. 228, 230 (Wis. 1941), and the first use of “terrorism” that the
Court could locate was in 1880. Cox v. State, 1880 WL 9001, *12 (Tex. App. 1880). Since these
words were not in any significant use when the AEA was enacted, the Court finds that it is difficult
to place too much emphasis on the fact that those living in 1798 did not apply “predatory incursion”
to terroristic activities."

Third, modern definitions of “predatory incursion” match the definitions that the Court
cited above from 1773 and 1828. Indeed, Merriam-Webster’s dictionary currently defines
predatory as “1. a: of, relating to, or practicing plunder, pillage, or rapine[;] b: inclined or intended
to injure or exploit others for personal gain or growth[;]” as well as “living by predation:
predacious[. |” Predatory, MERIAM WEBSTER’S, https://www.merriam-
webster.com/dictionary/predatory (last accessed May 9, 2025). And Merriam Webster’s now
defines “incursion” as “a hostile entrance into a territory: RAID” or “an entering in or into
(something, such as an activity or undertaking[.]” Incursion, MERIAM WEBSTER’S,
https://www.merriam-webster.com/dictionary/incursion (last accessed May 9, 2025). Of

significant note to the Court, the two examples of “incursion” currently listed on Merriam-

13 On a related note, the Court observes with A.S.R. that Presidents have only previously issued Proclamations
pursuant to the AEA during the War of 1812, World War I, and World War IL. (ECF No. 57 at 16). However, the
statute permits a President to act during “a declared war between the United States and any foreign nation or
government, or [whenever] any invasion or predatory incursion is perpetrated, attempted, or threatened against the
United States by any foreign nation or government[.]” 50 U.S.C. § 21 (emphasis added). The fact that no President
has previously needed to (or seen fit to) employ Congress’s grant of power in the context of an “invasion” or a
“predatory incursion” is not a basis upon which this Court may undo that Congressional grant of power.

28
Webster’s are: “an incursion into enemy airspace” and “there were incursions from the border
every summer|.|” Id. (emphasis added).

At this juncture, the Court invites the reader to return to the preceding subsection and reread
the definitions of “predatory” and “incursion” from Webster’s 1828 dictionary. See supra Section
III.B.1.b. When the Court performs this exercise, the Court sees that the fundamental meaning of
these words has not changed from 1798 (and the surrounding era) until today.'* Therefore, the only
remaining question is whether “predatory incursion” may fairly be applied to FTOs today. As the
Court now explains, it finds that “predatory incursion” may be so applied.

Fourth, as the terms “terrorist” and “terrorism” have become more common, courts around
the country have used “incursion” in ways that support applying “predatory incursions” to FTOs.

For example:

1. In 1873, the United States Supreme Court recounted how, in “Express Company
y. Kountze Brothers, where the carriers were sued for the loss of gold-dust delivered
to them on a bill of lading excluding liability for any loss or damage by fire, act of
God, enemies of the government, or dangers incidental to a time of war, they were
held liable for a robbery by a predatory band of armed men (one of the excepted
risks), because they negligently and needlessly took a route which was exposed to
such incursions.” N.Y. Cent. R. Co. v. Lockwood, 84 U.S. 357, 375 (1873)
(emphasis added).

2. In 1961, the United States Supreme Court wrote of “[mJeans for effective
resistance against foreign incursion-whether in the form of organizations which
function, in some technical sense, as ‘agents’ of a foreign power, or in the form of
organizations which, by complete dedication and obedience to foreign directives,
make themselves the instruments of a foreign power ...” Communist Party of U.S.
v. Subversive Activities Control Bd., 367 U.S. 1, 95-96 (1961) (emphasis added).

3. In 1992, the First Circuit wrote that the relevant statute, which was enacted in
1976, “was an elaborate and path-breaking legislative enterprise intended to protect
the American fishing industry, and to preserve endangered stocks of fish, from what
were perceived to be predatory incursions by foreign fishing fleets into American

'4 Specifically, where Webster’s Dictionary of 1828 listed “hence, an entering into a territory with hostile intention,
an inroad[,]” see supra Section IIL.B.1.b, as a possible definition of incursion, Webster’s dictionary now lists “a hostile
entrance into a territory: RAID” as a possible definition of incursion. These two definitions are quite similar.

29
waters.” Davrod Corp. v. Coates, 971 F.2d 778, 785 (1st Cir. 1992) (emphasis
added).

4. In 2013, the following appears in an opinion from the First Circuit: “Fueled by
anger over the intervention by the United States in Iraq, the three men agreed in
principle to participate in jihad against the United States. They discussed possible
ways to implement this consensus, including the assassination of political leaders,
attacks on military bases, and incursions at shopping malls.” United States v.
Mehanna, 735 F. 3d 32, 56 (1st Cir. 2013) (emphasis added).

5. In 2013, the United States District Court for the Southern District of New York
relayed the following travel advisory from the State Department: “‘Due to the
spread of organized crime, drug and small-arms trafficking, and incursions by
terrorist organizations near Ecuador’s border with Columbia ...” Chevron Corp.
v. Donziger, No. 11-CV-691, 2013 WL 646399, at *11 (S.D.N.Y. Feb. 21, 2013)
(emphasis added).

6. In 2015, the Third Circuit held that, to the “extent that [petitioner’s] new evidence
referred to the ‘growing threat’ of the terrorist organization known as Boko
Haram[,] we agree with the [Board of Immigration Appeals] that this evidence was
not material to [petitioner’s] case because none of that evidence indicates that Boko
Haram has made incursions in the southwest part of Nigeria (the region from which
[petitioner] hails).” Atanda v. Atty. Gen. U.S., 634 F. App’x 80, 84 (3d Cir. 2015).

7. In 2024, the United States District Court for the Southern District of New York
noted that, in “early 2018, terrorists attacked the Intercontinental Hotel in
Afghanistan. They killed and wounded dozens of individuals, including several
Americans, during a blitz that lasted for hours. The Taliban proudly took credit for
the heinous attack. But one of the victims and his wife, as well as the family of a
deceased victim, blame Iran for the incursion too.” Kenny v. Islamic Republic of
Tran, No. 1:22-CV-3299, 2024 WL 4297682, at *1 (D.D.C. Sept. 26, 2024)
(emphasis added).

So, then, to recap: (1) the word “military” is not found in the AEA, (2) “terrorist” and

“terrorism” were not in significant use at the time that Congress passed the AEA, (3) the words
“predatory” and “incursion” both have similar dictionary definitions today as they did in and
around 1798, and (4) terrorist organizations are frequently referred to today as committing
“incursions” that are certainly “predatory”, that is, terrorist organizations are referred to in ways

that speak of cohesive groups entering territory for common and a significant destructive

purpose(s).

30
In sum, based on the Supreme Court’s statement that, while the “meaning” of a statute is
fixed at its enactment, new “applications” may arise in light of changes of the world, this Court
has continued to ask itself this question: If FTOs existed and were entering the United States in
1798 for purposes such as those set out above, see supra Section I, would the public and Congress
have viewed those FTOs as committing “predatory incursions” against the territory of the United
States? For all of the foregoing reasons, the Court answers that question in the affirmative. See
also Holder v. Humanitarian L. Project, 561 U.S. 1, 34 (2010) (noting that one reason why the
Supreme Court respects the conclusion of the political branch(es) in the realms of national security
and foreign policy is that such concerns “arise in connection with efforts to confront evolving
threats in an area where information can be difficult to obtain and the impact of certain conduct
difficult to assess”) (emphasis added). Therefore, the Court rejects A.S.R.’s definition of
“predatory incursions.”

d. The Proclamation Describes a “Predatory Incursion” By TdA

In light of all of the foregoing, this Court reaches the following definition of “predatory
incursion” under the AEA: “a hostile entry into the United States by a cohesive group of
individuals, such as a military detachment or a designated Foreign Terrorist Organization, who are
united by a common goal of causing significant disruption to the public safety—whether that be
the safety of persons, property, or pecuniary interests—of those within the United States.” The
Court finds that that definition is faithful to the meaning of “predatory incursions” in 1798, but it
also accounts for new applications given “changes in the world.” Wis. Ctr. Ltd., 585 U.S. at 284.

When this Court applies that definition to the Proclamation and its finding that TdA is

committing a “predatory incursion,” the Court holds that the Proclamation complies with the AEA.

31
First, as the Court alluded to above, see supra Section II.B, the Proclamation and the
Declarations that Respondents have submitted to this Court indicate that there is a factual basis for
President Trump’s conclusions in the Proclamation. Most of all, the Proclamation references the
fact that the Secretary of State has designated TdA as an FTO pursuant to Title 8, United States
Code, Section 1189, a designation that heavily supports the conclusions within the Proclamation
that TdA is a cohesive group united by a common goal of causing significant disruption to the
public safety of the United States. See supra Section I.B. Further, the Declarations that
Respondents have submitted support President Trump’s findings regarding the type and scope of
harm that TdA threatens relative to this country. See supra Section I.C.

Second, the Court finds that the Proclamation and the documents it references (namely the
Secretary of State’s designation of the TdA as an FTO) support the finding that TdA is committing
a “predatory incursion” as that term is defined in the AEA. Indeed, an FTO is a cohesive group of
individuals united by a common goal of causing significant disruption to the common safety of the
public, see supra Section I.B, just like military detachments or pirates around the time that
Congress enacted the AEA. And an entity that is: (1) a designated FTO, (2) bent on destabilizing
the United States, and (3) flooding the United States with illegal narcotics, which it is using as a
“weapon” against the citizens of the United States, is certainly united by the common goal of
causing significant disruption to the public safety—whether that be the safety of persons, property,
or pecuniary interests—of those within the United States. 90 Fed. Reg. 13033.

Therefore, for all of the foregoing reasons, the Court finds that the Proclamation meets the
definition of “predatory incursion” under the AEA, and the Court finds that A.S.R. has not shown
a likelihood of success on the merits on this issue.

2. The Proclamation Meets the Definitions of “Against the Territory of the
United States” and “By Any Foreign Nation or Government”

32
The Court now turns to the statutory phrases “against the territory of the United States”
and “by any foreign nation or government[.]” 50 U.S.C. § 21.

With respect to the phrase “against the territory of the United States[,]” A.S.R. contends
that, at the time of the “founding, actions ‘against the territory of the United States’ were expressly
understood to be military in nature.” (ECF No. 57 at 19). But the Court has already explained why
it finds that the generation that passed the AEA would deem the activities of an FTO as described
in the Proclamation a “predatory incursion[,]’” even though such actions are not militaristic in the
1798 sense. In other words, for the reasons in the preceding section, the Court finds that “against
the territory of the United States” applies to the activities of FTOs. Further, because TdA is
perpetrating its activities against and within the United States, the Court finds that the Proclamation
satisfies this requirement of the AEA. Fed. Reg. 13034; see also supra Section I.

Turning finally to the phrase “foreign nation or government[,]” the Court begins by
stressing that it will afford substantial deference to the conclusions of the President on this issue
in particular. Indeed, in the realm of “sensitive and weighty interests of national security and
foreign affairs[,]” the evaluation of facts by the Executive “is entitled to deference.” Holder, 561
U.S. 1, 33-34 (2010). That deference is partially due to the fact that neither members of the
Supreme Court nor “‘most federal judges begin the day with briefings that may describe new and
serious threats to our Nation and its people.’” Jd. (quoting Boumediene v. Bush, 553 U.S. 723, 797
(2008)); see also Chicago & S. Air Lines v. Waterman S.S. Corp., 333 U.S. 103, 111 (1948) (“The
President, both as Commander-in-Chief and as the Nation’s organ for foreign affairs, has available
intelligence services whose reports neither are nor ought to be published to the world. It would be
intolerable that courts, without the relevant information, should review and perhaps nullify actions

of the Executive taken on information properly held secret.”’). Finally, the Court notes that the

33
“power to recognize foreign states resides in the President alone[.]” Zivotofsky ex rel. Zivotofsky
v. Kerry, 576 U.S. 1, 28 (2015).

Therefore, the Court will accept as true President Trump’s conclusion, via the
Proclamation, that TdA is acting “at the direction, clandestine or otherwise, of the Maduro regime
in Venezuela.” 90 Fed. Reg. 13034.

As a result of this conclusion, this Court is in full accord with the United States District
Court for the Southern District of Texas, which held as follows on this very issue:

Although the Proclamation focuses on TdA’s activities in the United States, it

places control of those activities in Maduro, acting in his claimed role of President

of Venezuela. In other words, the Proclamation declares that the country of

Venezuela, through Maduro, directs and controls TdA’s activities in the United

States ... As a result, the Court concludes that the Proclamation places

responsibility for TdA’s actions in the United States on the Venezuelan

government, which satisfies this aspect of the AEA.
JAWV. y. Trump, No. 1:25-CV-072, 2025 WL 1257450, at *17 (S.D. Tex. May 1, 2025).

In light of the foregoing, the Court finds that President Trump’s Proclamation is in step
with the AEA. The Court therefore turns its attention to the notice that Respondents are currently
providing to those who are subject to the Proclamation, a claim upon which A.S.R. has shown a
likelihood of success on the merits.

3. The Notice that Respondents Are Currently Providing Is Insufficient

With respect to notice, as the Court explained above, while Respondents represent that
A.S.R. is not currently detained pursuant to the AEA, the Court has every reason to believe that he
could be designated for removal pursuant to that statute at any time. See supra Section ILA.
Therefore, for the reasons above, see id., the Court finds that A.S.R. retains standing to challenge

the issue of notice. Indeed, the Court is concerned that, if it does not address this issue via this

Opinion and Order of Court, Respondents could designate A.S.R. as subject to the Proclamation

34
and the AEA tomorrow. In that event, there would be nothing prohibiting Respondents from only
extending to A.S.R. the notice that the Court finds deficient in light of the Supreme Court’s
decision in..G.G. Accordingly, the Court shifts its attention to how much notice is due to A.S.R.
in light of J.G.G. and the Fifth Amendment to the United States Constitution. U.S. CONST. amend.
V (“nor shall any person ... be deprived of life, liberty, or property, without due process of law”)
(emphasis added); Reno v. Flores, 507 U.S. 292, 306 (1993) (“It is well established that the Fifth
Amendment entitles aliens to due process of law in deportation proceedings.”).

On this issue, the Supreme Court has held that detainees subject to the AEA are “entitled
to notice and opportunity to be heard ‘appropriate to the nature of the case.’” Trump v. J.G.G., 145
S. Ct. 1003, 1006 (2025) (quoting Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306,
313 (1950)). Therefore, AEA detainees must “receive notice ... that they are subject to removal
under the Act. The notice must be afforded within a reasonable time and in such a manner as will
allow them to actually seek habeas relief in the proper venue before such removal occurs.” Id.
(emphasis added). In light of this language from the Supreme Court, this Court holds that the notice
Respondents currently intend to provide, see supra Section I.D, is constitutionally deficient, and
the Court therefore finds that A.S.R. has shown a likelihood of success on the merits.

Far in excess of the notice that Respondents intend to provide, this Court previously held
that fourteen days’ notice meets the demands of due process in this context. See supra Section I.D.
However, when the Court reached that decision, it also certified a class, and the Court was of the
mind that fourteen days’ notice was sufficient in part because there was counsel representing that
entire class. Now, because the Court finds that the legal requirements of a class are no longer
satisfied in this case, the Court must consider how much notice is appropriate absent class

certification.

35
When the Court conducts that inquiry, the Court holds that twenty-one (21) days’ notice
and an “opportunity to be heard”, /G.G., 145 S. Ct. at 1006, is a sufficient period of time to
“actually allow [A.S.R.] to seek habeas relief in the proper venue before such removal [under the
AEA and the Proclamation] occurs.” Jd. The Court reaches this finding for three reasons. First, the
Court is intimately familiar with ICE removal proceedings due to the fact that MVPC is located in
the geographical region over which this Court’s division sits, leading this Court to consider myriad
habeas petitions challenging removal on an annual basis. In light of that familiarity, the Court
knows that individuals in ICE custody are frequently moved, counsel for such individuals may
have a difficult time speaking with them, and such individuals cannot realistically file for habeas
relief within a matter of hours. Second, the Court is concerned that, if it does not provide sufficient
notice and opportunity to be heard, individuals who are not in fact subject to the AEA and the
Proclamation may be errantly removed from this country. And third, the Court finds that twenty-
one (21) days’ notice does not unduly burden the Government in this context.

Further, pursuant to /.G.G.’s admonishment that the notice Respondents provide must
inform detainees that they are “subject to removal under the Act[,]” 145 S. Ct. at 1006, the Court
will require the notice to clearly articulate that the individual detainee is subject to removal under
the Proclamation and the Act. The Court will also continue to require Respondents to provide the
notice “in English and Spanish, the language of those sought to be expelled, and if needed,
Spanish-to-English interpreters shall be provided for any necessary hearings.” (ECF No. 44 at 8).
Finally, with respect to A.S.R. in particular, because he has counsel, Respondents shall provide all
of the foregoing notice to his counsel as well. In the future, if an individual whom Respondents
designate as subject to removal under the AEA and the Proclamation has counsel, and if

Respondents can reasonably obtain the contact information for that counsel from other

36
immigration proceedings or the like, the Court encourages Respondents to provide such notice to
that counsel.

In sum, the Court finds that Respondents must provide to individual detainees who are
subject to the AEA and the Proclamation the following notice before removing them pursuant to
those provisions of law: (1) twenty-one (21) days’ notice and an “opportunity to be heard,” (2)
notice that clearly articulates the fact that the individual detainee is subject to removal under the
Proclamation and the AEA, and (3) notice in English and Spanish, the language of those sought to
be expelled, and if needed, Spanish-to-English interpreters shall be provided for any necessary
hearings. In the case of A.S.R., if Respondents again designate him as subject to the AEA and the
Proclamation, they must provide all of the foregoing notice to his counsel at that time.

The Court recognizes that it may need to conduct further analysis and consider additional
issues related to the specifics of notice in the future. However, at this preliminary stage of this
case, the Court finds that the foregoing is appropriate and complies with the law. If either party
believes that the Court needs to consider these and related issues in greater detail as this case
progresses, the Court invites that party to raise any issue(s) it sees fit to this Court at the appropriate
time and in the appropriate manner.

4, A.S.R.’s Additional Arguments Are Unavailing

Before turning to the other preliminary injunction factors, the Court must consider two of
A.S.R.’s additional arguments. For the following reasons, neither leads the Court to conclude that
he is likely to succeed on the merits.

First, A.S.R. contends that, under the AEA, the “President may lawfully remove
noncitizens ... only when those designated noncitizens ‘refuse or neglect to depart’ voluntarily.”

(ECF No. 57 at 15). For their part, Respondents argue that “the departure period is only available

37
to those ‘not chargeable with actual hostility, or other crime against public safety.’” (ECF No. 59
at 26) (quoting 50 U.S.C. § 22). Therefore, according to Respondents, because President Trump
“expressly found that the identified TdA members are engaged in active hostility[,]” the President
need not provide a period of voluntary departure before “effectuating removal.” (/d.).

On this issue, Respondents are correct. It is a “fundamental rule of statutory construction
that all parts of a statute must be read together.” United States v. Gordon, 961 F.3d 426, 431 (3d
Cir. 1992). While one section of the AEA does reference those who “refuse or neglect to depart”
from the United States, the next section indicates that an individual shall be permitted time to settle
his affairs and depart if he is “not chargeable with actual hostility” and the other statutory
requirements are met. 50 U.S.C. §§ 21-22. Together, these provisions provide “that the President
acting under the AEA need not offer voluntary departure to alien enemies who[m] the Executive
Branch has concluded are engaged in chargeable actual hostility.” ..A.V. v. Trump, No. 1:25-CV-
072, 2025 WL 1257450, at *12 (S.D. Tex. May 1, 2025).

Here, President Trump found that all members of TdA are, “by virtue of their membership
in that organization, chargeable with actual hostility against the United States[.]” 90 Fed. Reg.
13034. Therefore, because that finding has factual support, see supra Section III.B.1.d, the Court
holds that President Trump need not provide members of TdA an opportunity to depart prior to
removal. Accordingly, A.S.R. has not shown a likelihood of success on the merits with respect to
this issue.

Second, A.S.R. argues that Congress intended the INA to supersede all previous laws
regarding deportability, including the AEA. (ECF No. 57 at 27). According to A.S.R., although
Congress “knew of the AEA when it enacted the INA, it deliberately declined to exclude AEA-

based removals from this statutory scheme—even as it carved out express exceptions elsewhere.”

38
(ECF No. 66 at 13). Conversely, Respondents argue that, even assuming there is a conflict between
the AEA and the INA, “it is the AEA that would control” because a specific statute governs a
general one. (ECF No. 59 at 28).

Title 8, United States Code, Section 1229a(a)(3) does provide that, unless “otherwise
specified in this chapter, a proceeding under this section shall be the sole and exclusive procedure
for determining whether an alien may be admitted to the United States or, if the alien has been so
admitted, removed from the United States.” However, it is a “basic principle of statutory
construction that a statute dealing with a narrow, precise, and specific subject is not submerged by
a later enacted statute covering a more generalized spectrum.” Radzanower v. Touche Ross & Co.,
426 U.S. 148, 153 (1976). And when there is “‘no clear intention otherwise, a specific statute will
not be controlled or nullified by a general one, regardless of the priority of enactment.’” Jd.
(quoting Morton v. Mancari, 417 U.S. 535, 550-51 (1974)) (“The reason and philosophy of the
rule is, that when the mind of the legislator has been turned to the details of a subject, and he has
acted upon it, a subsequent statute in general terms, or treating the subject in a general manner,
and not expressly contradicting the original act, shall not be considered as intended to affect the
more particular or positive previous provisions, unless it is absolutely necessary to give the latter
act such a construction, in order that its words shall have any meaning at all.”’) (internal quotation
marks and citation omitted). Finally, the law does not favor repeals by implication. /d. at 154.

Here, A.S.R. has not pointed to a clear statement by Congress within the INA indicating
that that statute repeals the AEA. Further, A.S.R. has not shown this Court that the INA repeals
the AEA by implication, something that the law disfavors in any event. Finally, the Court notes
that counsel for J.G.G. made this exact argument to the Supreme Court, and that Court said nothing

about the INA repealing the AEA, explicitly or otherwise in its decision in .G.G. JG.G,, ef al.,

39
Plaintiffs-Appellees, vy. Donald J. TRUMP, in his official capacity as President of the United States,
et al., Defendants-Appellants., 2025 WL 857790, at *24 (contending that the “INA, enacted after
the AEA, is the sole and exclusive procedure for removal”) (internal quotation marks and citation
omitted); Trump v. J.G.G., 145 S. Ct. 1003 (2025).!° Therefore, the Court holds that A.S.R. has
failed to show a likelihood of success on the merits on this issue.

In light of all of the foregoing, the Court notes that the only issue the Court has considered
upon which A.S.R. has shown a likelihood of success on the merits is notice under the AEA.
Accordingly, the Court denies A.S.R.’s Motion for a Preliminary Injunction with respect to all
issues that the Court has considered thus far, with the lone exception of the issue of notice. Reilly
v. City of Harrisburg, 858 F.3d 173, 179 (3d Cir. 2017) (“[A] movant for preliminary equitable
relief must meet the threshold for the first two ‘most critical’ factors: it must demonstrate that it
can win on the merits ... and that it is more likely than not to suffer irreparable harm in the absence
of preliminary relief. Jf these gateway factors are met, a court then considers the remaining two
factors[.]”) (emphasis added). With respect to the issue of notice, the Court now addresses the
remaining preliminary injunction factors.

C, The Other Preliminary Injunction Factors Favor Granting Relief Regarding
the Issue of Notice

As the Court explained above, in addition to likelihood of success on the merits, A.S.R.
must show that he is “likely to suffer irreparable harm in the absence of preliminary relief, that the
balance of equities tips in [his] favor, and that an injunction is in the public interest.” SEC vy.

Chappell, 107 F.4th 114, 126 (3d Cir. 2024).

'S This Court recognizes that the Supreme Court did not address this issue in its opinion in J.G.G. See .G.G., 145 S.
Ct. 1003. This Court is simply noting that this argument was raised to the Supreme Court, and rather than agreeing
with it, the Supreme Court issued an Opinion providing that challenges to the AEA must be brought in habeas and
overviewing the notice due to individuals subject to the AEA, among other things. Those facts offer some implicit
support for this Court’s finding on this issue.

40
Regarding irreparable harm, the Supreme Court has explained that the Illegal Immigration
Reform and Immigrant Responsibility Act of 1996 (“IIRIRA”) allows for continued “prosecution
of a petition after removall.]” Nken v. Holder, 556 U.S. 418, 435 (2009). Accordingly, the “burden
of removal alone cannot constitute the requisite irreparable injury” in that context because “Tajliens
who are removed may continue to pursue their petitions for review, and those who prevail can be
afforded effective relief by facilitation of their return, along with restoration of the immigration
status they had upon removal.” Jd. Conversely, in the context of the AEA, the law is far from
settled, and as the United States District Court for the Southern District of New York recently
noted, current events make it unclear whether individuals who are removed from the country but
are not actually subject to removal (that is, individuals who are removed in error) will be able to
return. G.F.F. v. Trump, No. 25-CV-2886, 2025 WL 1301052, at *10 (S.D.N.Y. May 6, 2025).
Therefore, in this context, on the record now before this Court, and given the current status of this
case, this Court finds that A.S.R. has shown a likelihood of irreparable harm in the absence of
preliminary relief. Jd. at *10-11.!¢

Finally, with respect to the balance of the equities and the public interest, because A.S.R.
is currently detained, he is not posing a risk to public safety at this time. /d. at *11. And if this

Court does not grant A.S.R. injunctive relief, there is a significant risk that he would be deprived

'6 A.S.R. also argues that Congress “enacted the Foreign Affairs Reform and Restructuring Act (‘FARRA’) to codify
the United Nations Convention against Torture and Other Cruel, Inhuman, or Degrading Treatment or Punishment
(‘CAT”) and to ensure that noncitizens have meaningful opportunities to protection from torture.” (ECF No. 57 at 25).
A.S.R. further contends that these “protections apply regardless of the mechanism for removal.” (/d.). For their part,
Respondents represent that the United States “abides by its CAT obligations,” (ECF No. 59 at 13), and explain that
the “United States continues to abide by its policy not to remove aliens to countries in which they are likely to be
tortured and to seek assurances where appropriate.” (/d. at 29). Finally, Respondents note that the Proclamation calls
for action that is “consistent with applicable law[.]” (ECF No. 59 at 4) (internal quotation marks and citation omitted).

Because Respondents have assured the Court that they are abiding by their CAT obligations, and the Court possesses
no evidence to the contrary, the Court finds that A.S.R. has failed to show a risk of irreparable harm in the absence of
preliminary injunctive relief on this ground. The Court therefore denies A.S.R.’s Motion with respect to this issue. In
doing so, the Court strongly encourages Respondents to continue to comply with their CAT obligations and all other
legal requirements in their interactions with A.S.R.

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of the rights due him under Supreme Court precedent. Jd. Therefore, the Court finds that the two
remaining factors support the grant of a preliminary injunction on the issue of notice in this case.
Id.

In short, this Court grants A.S.R.’s Motion for a Preliminary Injunction on the issue of
notice, and the Court denies his Motion in all other respects.

D. Security Bond

Before concluding, the Court must consider whether to require a security bond, and if so,
the amount of the bond.

Federal Rule of Civil Procedure 65(c) provides that the “court may issue a preliminary
injunction ... only if the movant gives security in an amount that the court considers proper to pay
the costs and damages sustained by any party found to have been wrongfully enjoined[.]” Fed. R.
Civ. P. 65(c). Although the “amount of the bond is left to the discretion of the court, the posting
requirement is much less discretionary. While there are exceptions, the instances in which a bond
may not be required are so rare that the requirement is almost mandatory.” Zambelli Fireworks
Mfg. Co., Inc. v. Wood, 592 F.3d 412, 426 (3d Cir. 2010) (internal quotation marks and citation
omitted). The carveout that the Third Circuit has recognized is the “exceptionally narrow
circumstance where the nature of the action necessarily precludes any monetary harm to the
defendant[.]” Jd.

This may well be a case in which it is appropriate to waive the bond requirement altogether.
However, due to the mandatory language of Rule 65(c) and the “exceptionally narrow” carveout
recognized by the Third Circuit, the Court will simply exercise its discretion to require A.S.R. to
post a nominal bond of $1.00. Given the nature of this case and all of the circumstances before the

Court, the Court finds that that amount is appropriate.

42
IV. Conclusion

As the Court stressed at the beginning of this Opinion, this case implicates significant
issues. In resolving those issues, this Court’s unflagging obligation is to apply the law as written.
When the Court does so, it finds that the Proclamation now at issue complies with the AEA, and
the Court further finds that Respondents must provide greater notice to those subject to removal
under the AEA than they are currently providing. Having done its job, the Court now leaves it to
the Political Branches of the government, and ultimately to the people who elect those individuals,
to decide whether the laws and those executing them continue to reflect their will.

An appropriate Order follows.

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DATED: May 13, 2025 Ay Pande ot LT WLS

STEPHANIE L. HAINES”
U.S. DISTRICT COURT JUDGE

43
